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AO 2455 (Rev. 09/|'.") .ludgment in n Crimina] Case

 

 

 

 

 

Sheet l
UNITED STATES DISTRICT COURT
UNlTED STATES OF AMERICA § JUDGMENT IN A CRIMINAL CASE
V. )
) Case Number: 13-MJ~481STE
ELizABETH R. TATE )
) USM Number:
)
) JEFF BYERS
) Defendant's Attomey
THE DEFENDANT:
Epleaded guilty to count(s) (l)
E pleaded nolo contendere to count(s)
which was accepted by the court.
|:| was found guilty on count(s)
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offcnsc Offense Ended _(_f£g_i_it
' 21 'USC 844 Possession of CDSl a C|ass A misdemeanor 7120/2013 1

'l`he defendant is sentenced as provided in pages 2 through 1 of this judgment The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

l:] 'I`he defendant has been found not guilty on count(s)

 

[:| Count(s) [:] is l:l are dismissed on the motion of the United States.

 

_ v lt is ordered that the defendant_must notify the Uni'ted States attorney for this di_str_ict within 30 da s of _any change ofname, residence,
or mailing address until_all fines, restitution,_costs, and special assessments imposed by this judgment are fu ly paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances

12/8/2017

 

Dalc of lmposilion of Judgment

Qa~»i£lA/Q

Signature of J udge

SHON T. ERW|N, U.S. N|agistrafe Judge

 

Name and Tit]e ofJudge

1 2i'8f20'| 7
Date

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AO 2458 (Rev. 09/17) Judgment in Cn`minal Case
Sheet 2 _ Imprisonment

.ludgment _ Page 2 of

DEFENDANT: EL|ZABETH R. TATE
CASE NUMBER: 13-MJ-481STE

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau ofPrisons to be imprisoned for a total
term of:

FOURTEEN (14) DAYS |NCARCERATION

|:| The court makes the following recommendations to the Bureau of Prisons:

l:l The defendant is remanded to the custody of the United States Marshal.

l:l The defendant shall surrender to the United States Marshal for this district:

|:] at |:| a,m. l:l p.m. on

 

l:l as notified by the United States Marshal.

l:l The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

l:| before 2 p.m. on

 

l] as notified by the United States Marshal.

l:l as notified by the Probation or Pretrial Services Office.

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on ' to
at , with a certified copy of this judgment
UNrrBD STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

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AO 245B [Rev. 09/| ?) judgment in a Criminal Case
Sheet 5 _ Criminai Monetary Fenaltics

 

Jud men -P § of ` .'l
DEFENDANTC ELlZABETH R. TATE g t age `c\
CASE NUMBERZ `l3~lVlJ-48`l STE
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment* Fine Restitution
TOTAI_.S $ 25.00 $ $ 0.00 $
l:| The determination of restitution is deferred until _ . An Ameiided Jiidgiiieiit iii n Cri'mi`nal Case (A0245C) will be entered

after such determination

|:| The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

lf the defendant makes a partial payment, each payee shall receive an approximately i'o ortioned ayment, unless specified otherwise in
the priority order or percentage payment column elow. l~lowever, pursuant to 18 .S. .. § 3664 i), all nonfederal victims must be paid
before the United States is paid.

 

Name of Paycc Total Loss** Restitution Ordered Prioritv or Percentagg
TOTALS 5 0.00 5 0.00

l:l Restitution amount ordered pursuant to plea agreement $

l:] The defendant must pay interest on restitution and a fine ot`more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day rider the date ofthe judgment, pursuant to 18 U.S.C. § 3612(f`). All oftlie payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

l:| 'l`lie court determined that the defendant does not have the ability to pay interest and it is ordered that:
l:l the interest requirement is Waived for the I:I fine l:l restitution

[] the interest requirement for the l:l fine l:l restitution is modified as follows:

* Juslicc for Viciims of'l`raffickin 1 Actof2015,l’_iib. L. No. 114-22. _ _
** Findings for the total amount o losses are required under Cliapters IO9A, l lO, l 10A, and l l3A ofTitle 18 for oH`enses committed on or
after September 13. 1994. but before April 23. l996.

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AO 2458 (Rev. 09/ 17) .ludginent in a Crimina| Case
Sheet 6 _ Schedule of Payments

Judgment--Page J`_ of 1
DEFENDANT: EL|ZABETH R. TATE
CASE NUMBER: 13-MJ-481STE

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A m Lump sum payment of $ 25~00 due immediately, balance due
l] not later than , or

l:| in accordance with jj C, [:| D, |:| E, or [:| Fbelow; or

B l:| Payment to begin immediately (may be combined with l:l C, L__l D, or l:l F below); or

C |:l Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months oryears), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D I:l Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months oryears), to commence (e.g., 30 or 60 days) alter release from imprisonment to a

term of supervision; or

E [:| Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment, The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F |:| Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment All criminal monetary penalties, except those payments ma e through the Federal Bureau of Prisons’ lnmate
Financial Responsibility Program, are made to the clerk of the court

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

l:l Joint and Several

Defendant and Co-Defendant Names and Case Numbers (r'ncluding defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate

l:l The defendant shall pay the cost of prosecution.

l:|

The defendant shall pay the following court cost(s):

l:l The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (l) assessment (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.

